Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 1 of 48 PageID #: 901




                                                                                      d
                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            ALEXANDRIA DIVISION

 TATALU HELEN DADA,ET AL.                   CIVIL DOCKET NO. 1:20-CV-00458
 Petitioners

 VERSUS                                     JUDGE DRELL

 DIANNE WITTE,ET AL. ,                      MAGISTRATE JUDGE PEREZ-MONTES
 Respondents


                         REPORT AND RECOMMENDATION

        Petitioners are civil immigration detainees.      All await removal or other

  immigration proceedings. All attest that they are particularly vulnerable to the novel

  coronavirus, or “COVID-19.” And all seek immediate release from custody to until

  they are removed from the United States or their immigration proceedings are

  resolved.   Respondents are the Department of Homeland Security/United States

  Immigration and Customs Enforcement (“ICE”) and various officials responsible for

  some aspect of Petitioners’ detention. Respondents oppose Petitioners’ release on

  jurisdictional and substantive grounds.

        Both sides advance legitimate positions. And together, they have established

  a substantial record. The Court must decide whether Petitioners are entitled to

  release given the risk factors associated with their detention, including their

  individual vulnerabilities to COVID-19.

        Petitioners may seek habeas corpus relief under 28 U.S.C. § 2241 and

  injunctive relief under Fed. R. Civ. P. 65. The Due Process Clause of the Fifth
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 2 of 48 PageID #: 902




  Amendment requires release if, given a particular situation, a Petitioner’s detention

  is no longer reasonably related to legitimate governmental purposes.

         The relevant facts facing Petitioners, ICE, correctional officers, and the public,

  may also favor release.      Under ordinary circumstances, ICE often releases civil

  detainees who do not pose a risk of flight or danger. Under these extraordinary

  circumstances, release is an even more viable option. Densely-populated facilities

  endanger those detained and working inside. That danger spills into surrounding

  communities. For these reasons, thousands of federal prisoners, state prisoners, and

  ICE detainees have already been conditionally released from detention facilities.1

          In this case, 13 of the 16 Petitioners should also be conditionally released.

  One remaining Petitioner has tragically tested positive for COVID-19.              Another

  has been released.       And another has failed to establish a present right to

  release.   All Petitioners’ immigration proceedings will proceed as normal, and

  any other detainee’s circumstances remain unchanged.              But these     Petitioners

  have established that their detention poses a grave and unconstitutional

  risk while failing to meaningfully serve ICE’s or the public’s interest. As

  such, injunctive relief is warranted under the Due Process Clause of the Fifth

  Amendment.




  1 The United States Bureau of Prisons has released 1,805 prisoners to home confinement.
  COVID-19 Home Confinement Information, https://www.bop.gov/coronavirus/index.jsp (last
  visited Apr. 30, 2020). And the Chief Justice of the Louisiana Supreme Court has urged
  Louisiana judges to “minimize the number of people detained in jails where possible.” Letter
  to the Louisiana District Judges, Apr. 2, 2020, https://www.lasc.org/COVID19/2020-04-02-
  LASC-ChiefLetterReCOVID-19andjailpopulation.pdf.

                                               2
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 3 of 48 PageID #: 903




  I.     Background

         A.     Procedural Background

         Counsel for Petitioners originally filed this lawsuit in the United States

  District Court for the Eastern District of Louisiana. Dada v. Witte, No. CV 20-1093,

  2020 WL 1674129 (E.D. La. Apr. 6, 2020). But Petitioners are all presently detained

  in this District. So the Eastern District dismissed the suit without prejudice under

  the “immediate custodian rule,” which requires Petitioners to seek relief in the

  district of their confinement. See id. at *3.

         Petitioners then refiled before this Court, seeking the same relief, including a

  TRO. See ECF Nos. 1, 2. Shortly after filing, the undersigned set an expedited

  briefing schedule and an evidentiary hearing (hereinafter, the “Hearing”). ECF No.

  6. The parties submitted briefs and numerous exhibits.

         At the Hearing, counsel for both sides argued, but did not offer additional

  evidence or testimony. All counsel confirmed that the record before the Court was

  adequate, and that additional briefing and evidence were unnecessary. However,

  since the Hearing, counsel for Petitioners have submitted notices and supplemental

  evidence. Tragically, among these submissions was: (1) a Notice that one Petitioner

  recently tested positive for COVID-19 (ECF No. 15); and (2) a news article indicating

  that two guards at Richwood Correctional Center have died after exhibiting

  symptoms consistent with COVID-19 (ECF No. 16-2).

         Petitioners’ Motion for TRO (ECF No. 2) remains pending before the Court and

  ripe for disposition.



                                             3
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 4 of 48 PageID #: 904




            B.    Factual Background

                  1.     The COVID-19 pandemic threatens human life and vital
                         institutions, particularly at detention centers.

            At this juncture, there is likely no need to describe the COVID-19 pandemic in

  detail. As to its disruption of daily life, one court stated that “[t]he virus has . . .

  upended American economic and social life, causing schools and businesses to

  shutter, and even the nominally unaffected to wear masks and stand six feet apart in

  public." Adams & Boyle, P.C. v. Slatery, No. 20-5408, 2020 WL 1982210, at *2 (6th

  Cir. Apr. 24, 2020). As to its devastating toll upon human life, according to the

  Centers for Disease Control and Prevention (“CDC”), 1,005,147 cases and 57,505

  deaths have been reported in the United States. 2          In Louisiana, 28,001 cases and

  1,862 deaths have been reported. 3         And in the Louisiana parishes home to the

  detention facilities housing Petitioners: (1) Ouachita Parish – 706 cases, 16 deaths;

  (2) LaSalle Parish – 23 cases; (2) Winn Parish – 32 cases, 2 deaths; (4) Catahoula

  Parish – 36 cases, 2 deaths; (5) Jackson Parish – 34 cases, 2 deaths; and (6)

  Evangeline Parish – 49 cases, 1 death. 4

            Given those tragic realities, the United States Court of Appeals for the Fifth

  Circuit has stated that “COVID-19 poses risks of harm to all Americans.” Valentine

  v. Collier, No. 20-20207, 2020 WL 1934431, at *5 (5th Cir. Apr. 22, 2020). At present,


  2 Cases in the U.S., https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
  us.html (last visited Apr. 30, 2020).

  3   Louisiana Coronavirus (COVID-19) Information, available at http://ldh.la.gov/coronavirus/
  (last visited Apr. 30, 2020).

  4   Id.
                                                 4
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 5 of 48 PageID #: 905




  COVID-19 remains medically “incurable” in the sense that “[t]here are no drugs or

  other therapeutics . . . approved by the . . . [(FDA)] to prevent or treat COVID-19.” 5

  COVID-19 appears to be highly infectious and transmissible, particularly where

  people are in close physical proximity with one another. 6 “The best way to prevent

  illness is to avoid being exposed to this virus,” specifically by avoiding close contact

  with others, sanitizing, and wearing protective face covers. 7

         In large part due to these characteristics, COVID-19 has severely impacted

  detention facilities. This Court and many others have noted particular concern

  regarding the effect of COVID-19 in prisons. See, e.g., United States of America v.

  Vacarra Rogers, No. CR 3:15-00058-01, 2020 WL 1987350, at *2 (W.D. La. Apr. 27,

  2020). The cause is apparent: “As warned by the CDC, conditions of confinement

  inherently prevent one’s ability to socially distance, which, until a treatment is

  discovered, or a vaccine developed, is the best measure to reduce the spread of the

  disease.” Sallaj v. U.S. Immigration & Customs Enf't ("ICE"), No. CV 20-167-JJM-

  LDA, 2020 WL 1975819, at *3 (D.R.I. Apr. 24, 2020).               Thus, “[t]he CDC has

  acknowledged the particular challenges faced by correctional and detention facilities

  in controlling the transmission of COVID-19 and has provided some guidance, as




  5CDC Information for Clinicians on Investigational Therapeutics for Patients with COVID-
  1, https://www.cdc.gov/coronavirus/2019-ncov/hcp/therapeutic-options.html (last visited Apr.
  29, 2020).

  6 See How COVID-19 Spreads, available at https://www.cdc.gov/coronavirus/2019-
  ncov/faq.html#Coronavirus-Disease-2019-Basics (last visited Apr. 29, 2020).

  7See How to Protect Yourself & Others, available at https://www.cdc.gov/coronavirus/2019-
  ncov/prevent-getting-sick/prevention.html (last visited Apr. 29, 2020).

                                               5
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 6 of 48 PageID #: 906




  several courts have recognized.” See United States v. Morris, No. 3:19-CR-573-B,

  2020 WL 1694301, at *4 (N.D. Tex. Apr. 6, 2020).

            Moreover, “older adults [age 65 and older] and people of any age who have

  serious underlying medical conditions might be at higher risk for severe illness from

  COVID-19.” 8 Underlying medical conditions may include: (1) chronic lung disease;

  (2) moderate to severe asthma; (3) serious heart conditions; (4) immunocompromising

  conditions,     including    cancer   treatment,   smoking,    bone    marrow   or   organ

  transplantation, immune deficiencies, poorly controlled HIV or AIDS, and prolonged

  use of corticosteroids and other immune weakening medications; (5) severe obesity;

  (6) diabetes; (7) chronic kidney disease undergoing dialysis; and (8) liver disease.9

                  2.     Petitioners seek specific and limited relief.

            Petitioners do not challenge their underlying immigration or removal

  proceedings. Petitioners also do not seek corrective relief for the specific conditions

  of their confinement. Instead, and in relevant part, Petitioners seek immediate

  release given their individual circumstances.

  II.       Law and Analysis

            A.    Jurisdiction

                  1.     The Court need only address jurisdiction under 28 U.S.C. § 2241.

            "“Federal courts must resolve questions of jurisdiction before proceeding to the

  merits.” Ashford v. United States, 463 F. App'x 387, 391-92 (5th Cir. 2012).


  8People Who Are at Higher Risk for Severe Illness, https://www.cdc.gov/coronavirus/2019-
  ncov/need-extra-precautions/people-at-higher-risk.html (last visited Apr. 29, 2020).

  9   Id.
                                                6
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 7 of 48 PageID #: 907




  Petitioners assert several potential bases of jurisdiction. Among them is habeas

  corpus jurisdiction. Under 28 U.S.C. § 2241(c)(3), a district court may grant a writ of

  habeas corpus where an individual is “in custody in violation of the Constitution or

  laws or treaties of the United States.”

                2.     The Court has jurisdiction under § 2241 because Petitioners
                       challenge the “fact and duration” of their detention, not their
                       “conditions of confinement.”

         Respondents argue that the Court lacks jurisdiction to consider Petitioners’

  claims under 28 U.S.C. § 2241. This argument is based upon the distinction between

  “conditions of confinement” claims (“conditions claims”) and “fact or duration of

  confinement” claims (“fact claims”). The parties agree that a petitioner may, and

  should, assert fact claims under § 2241. See Poree v. Collins, 866 F.3d 235, 243 (5th

  Cir. 2017). But the parties dispute which type of claim Petitioners assert, and which

  “procedural vehicle” is appropriate for conditions claims. Because Petitioners assert

  fact claims, not conditions claims, the question regarding the correct procedural

  vehicle for conditions claims is not addressed.   10


         Like the parties here, courts have long disagreed on these issues. But the

  United States Supreme Court and the Fifth Circuit have provided meaningful

  guidance. In Muhammad v. Close, for instance, the Supreme Court upheld a state

  prisoner’s right to assert a damages claim under 42 U.S.C. § 1983. 540 U.S. 749, 124


  10Many courts have approved ICE detainee conditions claims under § 2241. Respondents
  correctly point out that decisions in this circuit, while consistently skeptical, have not
  explicitly approved or prohibited § 2241 conditions claims. See, e.g., Poree, 866 F.3d at 243
  (“While ‘fact or duration’ claims must be brought under habeas, the Supreme Court [and some
  other circuit courts] ha[ve] not foreclosed the use of habeas for other kinds of claims.”).


                                               7
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 8 of 48 PageID #: 908




  S. Ct. 1303, 158 L. Ed. 2d 32 (2004). The prisoner had been convicted of a disciplinary

  offense and claimed to have suffered damages while detained for that conviction. See

  id. However, the prisoner did not ultimately challenge his conviction; he sought only

  damages, not expungement or reversal. See id. at 754.

        The Court emphasized the distinction at issue here:

        Federal law opens two main avenues to relief on complaints related to
        imprisonment: a petition for habeas corpus, 28 U.S.C. § 2254, and a
        complaint under the Civil Rights Act of 1871, Rev. Stat. § 1979, as
        amended, 42 U.S.C. § 1983. Challenges to the validity of any
        confinement or to particulars affecting its duration are the province of
        habeas corpus, Preiser v. Rodriguez, 411 U.S. 475, 500, 93 S.Ct. 1827,
        36 L.Ed.2d 439 (1973); requests for relief turning on circumstances of
        confinement may be presented in a § 1983 action.

  Id. at 750. The Court cited Heck v. Humphrey, 512 U.S. 477, 114 S.Ct. 2364, 129

  L.Ed.2d 383 (1994), a case which bars § 1983 actions that “would implicitly question

  the validity of conviction or duration of sentence.” Muhammad, 540 U.S. at 751. The

  Court then clarified that the Heck prohibition does not apply to “a prisoner's

  challenge that threatens no consequence for his conviction or the duration of his

  sentence,” in part because “there is no need to preserve the habeas exhaustion rule

  and no impediment under Heck in such a case.” Id. at 751-52.

        Though not directly on point, Muhammad is clearly instructive. Petitioners do

  not attack their underlying immigration proceedings.           Like the prisoner in

  Muhammad, Petitioners seek relief that would not risk or affect the validity of their

  underlying immigration cases.




                                            8
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 9 of 48 PageID #: 909




        Still, Respondents argue that claims implicating “conditions” associated with

  a detention facility must be “conditions claims.” But the cases cited by Respondents

  reveal why it misses the mark, particularly here.

        First, Respondents cite cases addressing conditions claims obviously centered

  upon the “conditions” themselves. To reconcile these cases, Respondents argue that

  Petitioners here attack the conditions of their confinement as well, including the

  physical space, sanitary conditions, and available medical care. But in the cited

  conditions cases and others, the conditions are the targeted harm. When fact claims

  are mentioned, however, conditions are indicators of the targeted harm: the

  confinement itself. See, e.g., Poree, 866 at 242 (holding that a challenge to a judge’s

  decision denying a prisoner’s transfer to a transitional home and ordering that the

  prisoner remain in a mental health facility was a fact claim properly asserted as a

  habeas claim); Schipke v. Van Buren, 239 F. App'x 85 (5th Cir. 2007) (“Schipke raised

  numerous claims pertaining to perceived injustices regarding her medical treatment

  and the conditions of her detention.”).

        Second, the remedy for conditions claims is generally corrective. The remedy

  for fact claims, however, generally terminates the detention altogether, or alters it

  such that a new form of custody or control is imposed. See Poree, 866 F.3d at 244

  (“"A request for relief from an initial civil confinement institution to a transitional

  home is similar [to a request for physical release]. Residence in a transitional home—

  a condition of Poree’s release from ELMHS—bridges the gap between his total

  confinement and total freedom.”); Schipke, 239 F. App'x at 85 (holding that “a



                                            9
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 10 of 48 PageID #: 910




  prisoner cannot avail herself of habeas corpus relief when seeking injunctive relief

  that, as in this case, is unrelated to the cause of her detention,” where a prisoner

  “sought an order for injunctive relief modifying the conditions of her detention”);

  Hernandez v. Garrison, 916 F.2d 291, 293 (5th Cir. 1990) (a prisoner’s Eighth

  Amendment and discrimination claims, seeking transfer to another facility due to

  “overcrowding, and denial of medical treatment and access to an adequate law

  library,” were “not a proper subject for a habeas corpus petition”); Sarres Mendoza v.

  Barr, No. CV H-18-3012, 2019 WL 1227494, at *3 (S.D. Tex. Mar. 15, 2019)

  (dismissing a detainee’s damages claims because “compensatory or monetary

  damages are not available in a habeas corpus proceeding,” but deciding the

  lawfulness of the detainee’s continued detention).

        These cases and others illustrate that Respondents’ arguments must fall short.

  As a general premise, “the Supreme Court has clearly found jurisdiction under . . . §

  2241 in [statutory and constitutional] challenges to post-final-order-of-removal

  detention.” Ali v. Dep't of Homeland Sec., No. 4:20-CV-0140, 2020 WL 1666074, at

  *2 (S.D. Tex. Apr. 2, 2020) (citing Clark v. Martinez, 543 U.S. 371, 386–87

  (2005);Zadvydas v. Davis, 533 U.S. 678, 688 (2001)). Adopting Respondents’ position

  here would contravene that general premise.

        Returning to the distinction between conditions and fact claims, Respondents

  seem to use the mere mention of a “condition” as the line of demarcation. But the

  jurisprudence indicates that two different characteristics actually separate

  conditions claims from fact claims: (1) the nature of the claim; and (2) the remedy



                                           10
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 11 of 48 PageID #: 911




  requested. See, e.g., Preiser v. Rodriguez, 411 U.S. 475, 500, 93 S. Ct. 1827, 1841, 36

  L. Ed. 2d 439 (1973) (“[W]hen a state prisoner is challenging the very fact or duration

  of his physical imprisonment, and the relief he seeks is a determination that he is

  entitled to immediate release or a speedier release from that imprisonment, his sole

  federal remedy is a writ of habeas corpus.”).

        As to the first characteristic, by nature, a fact claim challenges the detention

  itself. Conversely, by nature, a conditions claim attacks circumstances associated

  with the detention. As to the second characteristic, if a petitioner seeks immediate

  release or similar relief, the petitioner must do so through a fact claim. But if a

  petitioner seeks correction of a circumstance or event associated with detention, the

  petitioner must do so through a conditions claim. See Coleman v. Dretke, 409 F.3d

  665, 669 (5th Cir. 2005) (“[I]t is well established that release from physical

  confinement in prison constitutes release from custody for habeas purposes, even

  though the state retains a level of control over the releasee.”).

        These characteristics may be “blurry” in some situations. Poree 866 F.3d at

  168. But the Fifth Circuit clearly endorses them: “Which statutory vehicle to use

  depends on the nature of the claim and the type of relief requested. . . . “‘[R]elease

  from physical confinement . . . constitutes release from custody for habeas purposes,

  even though the state retains a level of control over the releasee.’” Id. (quoting

  Coleman v. Dretke, 409 F.3d 665 (5th Cir. 2005), and collecting other Fifth Circuit

  cases); see also Carson v. Johnson, 112 F.3d 818, 820–21 (5th Cir. 1997) (“If a

  favorable determination . . . would not automatically entitle [the prisoner] to



                                             11
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 12 of 48 PageID #: 912




  accelerated release, . . . the proper vehicle is a § 1983 suit.”) (internal citation and

  quotations omitted). And if Petitioners can neither seek immediate release under §

  1983 nor seek immediate release through habeas corpus, alternative remedies would

  be scarce, if available at all. Sacal-Micha v. Longoria, No. 1:20-CV-37, 2020 WL

  1815691, at *8 (S.D. Tex. Apr. 9, 2020) (noting, but dismissing, the same concern,

  because the petitioner had “not demonstrated an absence of alternative remedies that

  would warrant recognizing his cause of action directly under the Fifth Amendment”).

         Applying the first characteristic, Petitioner’s claims center upon the fact of

  their detention as the harm to be redressed.             Petitioners reference “conditions”

  associated with their detention only to establish that the fact of detention is no longer

  “reasonably related to a legitimate government objective” – in other words, to

  establish that their detention is “punitive” under the circumstances, and therefore,

  unconstitutional. Applying the second characteristic, Petitioners seek relief available

  traditionally, if not only, through habeas corpus: release.

         Critically, the “conditions” facing Petitioners likely would be implicated by

  either type of claim. But “[t]he mere fact that Plaintiffs' constitutional challenge

  requires discussion of conditions in immigration detention does not necessarily bar

  such a challenge in a habeas petition.” Vazquez Barrera v. Wolf, No. 4:20-CV-1241,

  2020 WL 1904497, at *4 (S.D. Tex. Apr. 17, 2020). 11


  11Respondents also argue that Petitioners’ claims are not related to the “cause of detention.”
  The Court disagrees.

  The Fifth Circuit has stated that the “sole function” of a habeas corpus petition “is to grant
  relief from unlawful imprisonment or custody.” Pierre v. United States, 525 F.2d 933, 935-
  36 (5th Cir. 1976). The “legality of custody,” or the “cause of detention,” is its only legitimate

                                                 12
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 13 of 48 PageID #: 913




         Finally, Respondents suggest that some of the Petitioners’ detention is

  mandatory. But mandatory detention statutes must, and often do, give way to the

  dictates of the Constitution, including Petitioners’ rights under the Fifth

  Amendment. See Malam v. Adducci, No. 20-10829, 2020 WL 1672662, at *13 (E.D.

  Mich. Apr. 5, 2020), as amended (Apr. 6, 2020) (“Petitioner's continued detention is

  in violation of the United States Constitution, to which 8 U.S.C. § 1226(c) must give

  way.”). 12 “[T]he Supreme Court has consistently allowed for habeas challenges to



  aim in habeas; “collateral administrative relief” or other unrelated matters are beyond its
  proper scope. Id. Petitioners argue that the “causes” that justified detention have now
  shifted. See Vazquez Barrera v. Wolf, No. 4:20-CV-1241, 2020 WL 1904497, at *6 (S.D. Tex.
  Apr. 17, 2020) The same logic separates the claims and mechanisms available to pretrial
  detainees and other civil detainees, and those available to convicted prisoners.

  12At the Hearing, Respondents argued that the United States had not waived its sovereign
  immunity regarding Petitioners’ claims. Respondents conceded that “§ 2241 waives
  sovereign immunity,” but does not concede to waiver of sovereign immunity for issuance of a
  TRO. Because Petitioners seek and are entitled to fact claim relief, the appropriate remedy
  for that relief is a petition for habeas corpus under § 2241. See Preiser v. Rodriguez, 411 U.S.
  475, 500, 93 S.Ct. 1827, 36 L.Ed.2d 439 (1973) (If a Plaintiff wishes to challenge “the very
  fact or duration of his physical imprisonment, and the relief he seeks is a determination that
  he is entitled to immediate release or a speedier release from that imprisonment, his sole
  federal remedy is a writ of habeas corpus.”); see also Poree v. Collins, 866 F.3d 235, 243 (5th
  Cir. 2017) (“Typically, habeas is used to challenge the fact or duration of confinement, and 42
  U.S.C. § 1983 is used to challenge conditions of confinement.”); Anekwu v. Immigration &
  Customs Enf't, 1:18-CV-1567-P, 2019 WL 2147931, at *1 (W.D. La. Feb. 14, 2019), report and
  recommendation adopted, 1:18-CV-1567-P, 2019 WL 2134538 (W.D. La. May 15, 2019).

  In a factually similar case, the United States District Court for the Eastern District of
  Michigan found sovereign immunity did not apply in this context, and even if it did, that it
  had been waived. See Malam v. Adducci, 20-10829, 2020 WL 1672662, at *5 (E.D. Mich. Apr.
  5, 2020), as amended (Apr. 6, 2020) (“Sovereign immunity does not apply in this instance,
  and even if it did, it has been statutorily waived. Federal courts may exercise the traditional
  powers of equity in cases within their jurisdiction to enjoin violations of constitutional rights
  by government officials.”). The undersigned agrees entirely with the Malam court’s
  reasoning.



                                                 13
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 14 of 48 PageID #: 914




  detention statutorily mandated by the Immigration and Nationality Act.”                    See

  Vazquez Barrera, 2020 WL 1904497, at *5; see also Basank v. Decker, No. 20 CIV.

  2518 (AT), 2020 WL 1481503, at *6 (S.D.N.Y. Mar. 26, 2020) (“[C]ourts have the

  authority to order those detained in violation of their due process rights released,

  notwithstanding § 1226(c).”). 13

         Each day, courts across the country are deciding similar cases arising from the

  COVID-19 pandemic. Unfortunately, consensus still eludes us. But so far, this Court

  has identified the same distinction in a different context, and has not reached a

  contrary result. 14 Other courts – a growing majority, it seems – have arrived at the



  13 At the Hearing, respondents also pointed out that Petitioners have different personal
  situations and are housed in different facilities. Petitioners have not sought class
  certification or formally requested permissive joinder, but instead simply filed the action
  together as Petitioners. Respondents have not filed a motion requesting that Petitioners’
  claims be severed or separated into 16 lawsuits. As such, no issue regarding the presence of
  multiple Petitioners was brought to the Court for decision.

  Nevertheless, the Court notes that joinder of Petitioners’ claims here is appropriate. The
  joint adjudication of habeas corpus claims is neither prohibited nor unprecedented, especially
  where interests of all litigants and judicial economy would be best served. Hatfield v. Young,
  No. 5:18-CV-01265, 2019 WL 4196613, at *6 (S.D.W. Va. June 7, 2019), report and
  recommendation adopted, No. 5:18-CV-01265, 2019 WL 4197117 (S.D.W. Va. Sept. 3, 2019),
  aff'd, 790 F. App'x 547 (4th Cir. 2020) (“[W]hile the joinder of two or more petitioners in one
  petition is not a common practice in habeas corpus proceedings, joinder is permitted by Rule
  20 of the Federal Rules of Civil Procedure and Rule 12 of the Rules Governing Habeas Corpus
  Cases. . . . Furthermore, [i]n this case, permissive joinder may be preferable, given that the
  Petitioners wish to pursue relief together and a single action would aid the goal of judicial
  economy.”) (internal quotation omitted). And in the COVID-19 context, other courts are
  routinely granting relief to multiple detainees in different facilities. See, e.g., Thakker v.
  Doll, No. 1:20-CV-480, 2020 WL 1671563, at *9 (M.D. Pa. Mar. 31, 2020) (ordering that 13
  inmates in three facilities be immediately released on their own recognizance).


  14See Riggs v. Louisiana, No. CV 3:20-0495, 2020 WL 1939168, at *1 (W.D. La. Apr. 22, 2020)
  (“Newton indeed challenges the general prison conditions, but he seeks an accelerated release
  from prison, which is properly asserted as a habeas action, not as a civil rights action.”);
  Livas, et al. v. Myers, et al., No. 2:20-CV-00422, 2020 WL 1939583, at *7 (W.D. La. Apr. 22,
                                                14
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 15 of 48 PageID #: 915




  same or similar results as the results reached here. 15 And others have reached either

  different or contrary results. 16




  2020) (“[Petitioners] bring this action [for immediate release] under § 2241, which is the
  proper vehicle for challenging ‘the fact or length of confinement.’”).

  15   See, e.g., Vazquez Barrera, 2020 WL 1904497, at *8 (granting in part a motion for TRO as
  a preliminary injunction and ordering a detainee’s immediate release subject to appropriate
  conditions); Essien v. Barr, No. 20-CV-1034-WJM, 2020 WL 1974761, at *3 (D. Colo. Apr. 24,
  2020) (“In theory, these causes of action are oil and water: a habeas claim may lead to an
  order releasing the prisoner or detainee or nothing at all; whereas a conditions-of-
  confinement claimant may only lead to an order requiring the government to improve the
  conditions of confinement, but not an order releasing the prisoner or detainee.”); Martinez
  Franco v. Jennings, No. 20-CV-02474-CRB, 2020 WL 1976423, at *3 (N.D. Cal. Apr. 24, 2020)
  (“[I]t is “fairly well established” that a federal detainee can challenge the conditions of his
  confinement in an action brought under 28 U.S.C. § 2241.”); Doe v. Barr, No. 20-CV-02141-
  LB, 2020 WL 1820667, at *8 (N.D. Cal. Apr. 12, 2020) (“[T]he court can address the
  petitioner’s challenges to the conditions of confinement in a § 2241 petition.”); A.S.M. v.
  Donahue, No. 7:20-CV-62 (CDL), 2020 WL 1847158, at *2 (M.D. Ga. Apr. 10, 2020) (“The
  remedy for this type of claim, however, is modification of the conditions of confinement to
  eliminate the constitutional violation. Release from custody is not a remedy for this type of
  claim.”); Mays v. Dart, No. 20 C 2134, 2020 WL 1812381, at *6 (N.D. Ill. Apr. 9, 2020) (“The
  plaintiffs' claims, as they have framed them, do bear on the duration of their confinement
  (they contend, ultimately, that they cannot be held in the Jail consistent with the
  Constitution's requirements), and they are not the sort of claims that are, or can be,
  appropriately addressed via a claim for damages.”); Malam v. Adducci, No. 20-10829, 2020
  WL 1672662, at *3 (E.D. Mich. Apr. 5, 2020), as amended (Apr. 6, 2020) (“Supreme Court and
  Sixth Circuit precedent support the conclusion that where a petitioner claims no set of
  conditions would be sufficient to protect her constitutional rights, her claim should be
  construed as challenging the fact, not conditions, of her confinement and is therefore
  cognizable in habeas.”); Coreas v. Bounds, No. CV TDC-20-0780, 2020 WL 1663133, at *7 (D.
  Md. Apr. 3, 2020) (“First, and most fundamentally, although the grounds on which they seek
  release relate to their conditions of confinement, Petitioners seek complete release from
  confinement, which is “the heart of habeas corpus.”).

  16See, e.g., Jose D. v. Barr, et al., No. CV 20-4031 (KM), 2020 WL 1969893, at *4 (D.N.J. Apr.
  24, 2020) (“Here, Petitioner is directly challenging the decision to deny his request for parole,
  which this Court is not authorized to review. Accordingly, this Court lacks jurisdiction over
  Petitioner’s first claim for relief.”); Saillant v. Hoover, et al., No. 1:20-CV-00609, 2020 WL
  1891854, at *3 (M.D. Pa. Apr. 16, 2020) (holding that immigration detainees stated a
  conditions claim, but finding the claim cognizable under § 2241 because the circumstances
  represented an “extreme case”); Sacal-Micha v. Longoria, No. 1:20-CV-37, 2020 WL 1815691,
  at *4 (S.D. Tex. Apr. 9, 2020) (finding a conditions of confinement claim where an elderly
  immigration detainee requested immediate release, but repeatedly complained that he was
  held in inadequate or unsafe “conditions”).

                                                 15
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 16 of 48 PageID #: 916




        But the logic of the majority comports with Supreme Court and Fifth Circuit

  precedent. ICE detainees who are at elevated risk of contracting COVID-19 in a

  detention facility, and who seek immediate release, may do so through “fact or

  duration” claims asserted under 28 U.S.C. § 2241.

        C.     Injunctive Relief

        Petitioners seeking immediate injunctive relief in the form of release from

  custody. ECF No. 2. A TRO is a form of equitable injunctive relief that preserves the

  status quo until there is an opportunity to hold a full hearing on an application for a

  preliminary injunction. Atakapa Indian de Creole Nation v. Louisiana, CV 18-0190,

  2019 WL 660558, at *1 (W.D. La. Jan. 11, 2019) (citing Fed. R. Civ. P. 65(b)).

        Rule 65(b) of the Federal Rules of Civil Procedure states, in pertinent part:

        (b)(1) Issuing Without Notice. The court may issue a temporary
        restraining order without written or oral notice to the adverse party or
        its attorney only if: (A) specific facts in an affidavit or a verified
        complaint clearly show that immediate and irreparable injury, loss or
        damage will result to the movant before the adverse party can be heard
        in opposition; and (B) the movant’s attorney certifies in writing any
        efforts made to give the notice and the reasons why it should not be
        required.

        Here, there has been a full hearing on the application for injunctive relief, and

  Respondents have been heard. “After an adverse party has been given notice, the

  court may properly convert a motion for a temporary restraining order into a request

  for a preliminary injunction.” Confident Care Home Health Servs., Inc. v. Azar, CV

  H-18-3604, 2019 WL 3318135, at *2 (S.D. Tex. July 24, 2019) (citing Esparza v. Board

  of Trustees, 182 F.3d 915 (5th Cir. 1999) (“But when the adverse party has notice, the




                                            16
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 17 of 48 PageID #: 917




  protective provisions of rule 65(b) do not control, and the court has discretion to

  consider granting more lasting relief under a [preliminary injunction].”)).

         For a preliminary injunction, a Petitioner must show: (1) a substantial

  likelihood that he will prevail on the merits, (2) a substantial threat that he will suffer

  irreparable injury if the injunction is not granted, (3) that his threatened injury

  outweighs the threatened harm to the party whom he seeks to enjoin, and (4) that

  granting the preliminary injunction will not disserve the public interest. Bhatia v.

  Warden, 1:16-CV-1125, 2017 WL 1026054, at *1 (W.D. La. Jan. 24, 2017), report and

  recommendation adopted, 1:16-CV-1125;, 2017 WL 1017634 (W.D. La. Mar. 15, 2017)

  (citing Planned Parenthood of Houston & Southeast Texas v. Sanchez, 403 F.3d 324,

  329 (5th Cir. 2005)).

         A preliminary injunction “is an extraordinary and drastic remedy, not to be

  granted routinely, but only when the movant, by a clear showing, carries a burden of

  persuasion.” Black Fire Fighters Ass’n of Dallas v. City of Dallas, Tex., 905 F.2d 63,

  65 (5th Cir. 1990). “The denial of a preliminary injunction will be upheld where the

  movant has failed sufficiently to establish any one of the four criteria.” Black Fire

  Fighters Ass’n, 905 F.2d at 65; see also Flores, 442 F. App’x at 165.

                1.     Petitioners may be substantially likely to prevail on the merits.

         Petitioners are civil detainees. As a result, Petitioners’ detention must remain

  “nonpunitive in purpose and effect.” Zadvydas v. Davis, 533 U.S. 678, 690, 121 S. Ct.

  2491, 2499, 150 L. Ed. 2d 653 (2001). Prior criminal convictions do not affect this




                                              17
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 18 of 48 PageID #: 918




  legal status. See, e.g., Castillo v. Barr, No. CV2000605TJHAFMX, 2020 WL 1502864,

  at *3 (C.D. Cal. Mar. 27, 2020) ) (citing Zadvydas, 533 U.S.C. at 690).

         Civil immigration detainees are specifically entitled to the protections of the

  Fifth Amendment to the United States Constitution. Its Due Process Clause, in

  relevant part, forbids the government to “depriv[e]” any “person . . . of . . . liberty . . .

  without due process of law.” Civil detention thus implicates the Due Process Clause:

  “Freedom from imprisonment—from government custody, detention, or other forms

  of physical restraint—lies at the heart of the liberty that Clause protects.” Zadvydas,

  533 U.S. at 690. “[T]he Due Process Clause applies to all ‘persons’ within the United

  States, including aliens, whether their presence here is lawful, unlawful, temporary,

  or permanent.” See id. at 693.

         The Supreme Court has long held that civil detention must be justified:

  “[G]overnment detention violates that Clause unless the detention is ordered in a

  criminal proceeding with adequate procedural protections, or, in certain special and

  ‘narrow’ nonpunitive ‘circumstances,’ where a special justification, such as harm-

  threatening mental illness, outweighs the individual's constitutionally protected

  interest in avoiding physical restraint.” Zadvydas, 533 U.S. at 690 (internal citations

  and quotations omitted). Civil detention becomes unconstitutional when “punitive”

  in nature, meaning “not [or no longer] reasonably related to a legitimate, non-

  punitive governmental objective.” Scott v. Moore, 114 F.3d 51, 53 (5th Cir. 1997).

         Thus, it is well settled that a civil immigration detainee is “the equivalent of a

  pretrial detainee,” whose “constitutional claims are considered under the due process



                                               18
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 19 of 48 PageID #: 919




  clause instead of the Eighth Amendment.” See Edwards v. Johnson, 209 F.3d 772,

  778 (5th Cir. 2000). However, the parties dispute the standard for Petitioners’ claims.

  Respondents argue that Petitioners must prove ICE officials acted with “subjective

  deliberate indifference.” Petitioners claim that they may prevail by proving that

  detention is not “reasonably related to a legitimate governmental objective,” and

  therefore “punitive.” Bell v. Wolfish, 441 U.S. 520, 539, 99 S. Ct. 1861, 1874, 60 L.

  Ed. 2d 447 (1979).     Petitioners also argue, in the alternative, that they have

  established “subjective deliberate indifference” in ICE’s response to COVID-19.

        Here, yet another two-part distinction must be considered. And to compound

  the difficulty, on one side of the distinction are challenges to “general conditions of

  confinement.”   The term has different meaning here.        On the other side of the

  distinction are challenges to a “particular act or omission.”

        The former category of claims is concerned with "constitutional challenges to

  conditions, practices, rules, or restrictions.” See Hare v. City of Corinth, Miss., 74

  F.3d 633, 644 (5th Cir. 1996).     These challenges are subject to the “reasonable

  relationship” test outlined by the Supreme Court in Wolfish, and restated above. See

  Scott v. Moore, 114 F.3d 51, 53 (5th Cir. 1997). The latter category concerns “episodic

  acts or omissions” committed by specific officials. Hare, 74 F.3d at 644. These

  challenges require a finding of deliberate indifference. See Scott, 114 F.3d at 53.

        The Fifth Circuit has described this distinction as well, and in so doing, has

  clarified that the distinction is separate from “conditions claims” discussed in the

  habeas corpus context:



                                            19
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 20 of 48 PageID #: 920




        [A] condition may take the form of “a rule,” a “restriction,” “an
        identifiable intended condition or practice,” or “acts or omissions” by a
        jail official that are “sufficiently extended or pervasive.” Estate of
        Henson v. Wichita Cty. Tex., 795 F.3d 456, 468 (5th Cir. 2015) (quoting
        Duvall v. Dallas Cty., 631 F.3d 203, 207 (5th Cir. 2011)). “In some cases,
        a condition may reflect an unstated or de facto policy, as evidenced by a
        pattern of acts or omissions ‘sufficiently extended or pervasive, or
        otherwise typical of extended or pervasive misconduct by [jail] officials,
        to prove an intended condition or practice.’” Shepherd v. Dallas Cty., 591
        F.3d 445, 452 (5th Cir. 2009) (quoting Hare, 74 F.3d at 645). But
        “isolated examples of illness, injury, or even death, standing alone,
        cannot prove that conditions of confinement are constitutionally
        inadequate.” Id. at 454. To prevail on a claim of unconstitutional
        conditions of confinement, a plaintiff must show: “(1) ‘a rule or
        restriction or ... the existence of an identifiable intended condition or
        practice ... [or] that the jail official’s acts or omissions were sufficiently
        extended or pervasive’; (2) which was not reasonably related to a
        legitimate governmental objective; and (3) which caused the violation of
        [the inmate’s] constitutional rights.” Duvall, 631 F.3d at 207 (quoting
        Hare, 74 F.3d at 645).

  Cadena v. El Paso Cty., 946 F.3d 717, 727 (5th Cir. 2020); see also Shepherd v. Dallas

  Cty., 591 F.3d 445, 452 (5th Cir. 2009) (a petitioner challenging general conditions

  “is relieved from the burden of demonstrating a municipal entity's or individual jail

  official's actual intent to punish”); contra. Sacal-Micha, 2020 WL 1815691, at *6 (S.D.

  Tex. Apr. 9, 2020) ("Sacal [an immigration detainee] does not allege that the

  conditions under which he is being held amount to punishment.”).

        In this case, Petitioners’ claims challenge extended, pervasive circumstances

  that they claim are – by act, omission, or plain necessity – prevalent in ICE detention

  facilities, including the facilities housing them. Petitioners’ are more similar to, for

  instance, a challenge to the “number of bunks in a cell or . . . television or mail

  privileges.” See Scott, 114 F.3d at 53. Therefore, Petitioners’ claims are subject to

  the reasonable relationship test, not the deliberate indifference standard. See id.; see

                                             20
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 21 of 48 PageID #: 921




  also Vazquez Barrera, 2020 WL 1904497, at *5 (S.D. Tex. Apr. 17, 2020) (applying

  theWolfish reasonable relationship standard to ICE detainees’ request for immediate

  release in light of the COVID-19 pandemic); contra Coronel, 2020 WL 1487274, at *10

  (applying the deliberate indifference standard to immigration detainees’ substantive

  due process claims, but ordering detainees’ release).

        Under this standard, Petitioners may succeed on their substantive due process

  claims by establishing that detention does not reasonable relate to a legitimate

  governmental purpose. They may make this showing, for example, by proving that,

  due to their age, immune deficiencies, or other comorbidities, they face an elevated

  risk of contracting the virus, or suffering serious illness from it; that their particular

  circumstances also heighten these risks; and that preventive measures are difficult

  or impossible, leaving them unduly exposed to contracting the virus. See Vazquez

  Barrera, 2020 WL 1904497, at *5 (“Here, the Court finds that detention of Plaintiffs,

  who are at high risk of serious illness or death if they contract COVID-19, in MPC,

  where social distancing and proper hygiene are impossible, does not reasonably relate

  to a legitimate governmental purpose.”).

        Importantly, Petitioners’ claims must be distinct in some respect.              See

  Martinez Franco v. Jennings, No. 20-CV-02474-CRB, 2020 WL 1976423, at *3 (N.D.

  Cal. Apr. 24, 2020) (“Franco does not identify, and the Court has not seen, a case

  finding that increased likelihood of contracting the virus rendered unconstitutional

  the detention of a person without underlying medical conditions or some other

  vulnerability.”). The Fifth Circuit has explained that “[t]he incidence of diseases or



                                             21
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 22 of 48 PageID #: 922




  infections, standing alone,’ do not ‘imply unconstitutional confinement conditions,

  since any densely populated residence may be subject to outbreaks.’” Valentine v.

  Collier, No. 20-20207, 2020 WL 1934431, at *3 (5th Cir. Apr. 22, 2020) (quoting

  Shepherd v. Dallas Cty., 591 F.3d 445, 454 (5th Cir. 2009)). This Court has already

  concluded the same: “[P]risoners are not entitled to release or transfer based solely

  on generalized COVID-19 fears and speculation.” Riggs v. Louisiana, No. CV 3:20-

  0495, 2020 WL 1939168, at *2 (W.D. La. Apr. 22, 2020). 17 Otherwise, the claims of

  any prisoner or detainee would be equally meritorious – or equally meritless –

  notwithstanding their individual situations. That result would be untenable.

         To separate meritorious claims from generalized risk, some courts have

  focused upon underlying detainees’ medical conditions, detainees’ criminal histories

  or tendency toward violance, and the detention facility’s response to the pandemic.

  See Vazquez Barrera, 2020 WL 1904497, at *6. Another court distilled a “non-

  exhaustive list of factors” to be considered. Saillant, 2020 WL 1891854, at *4. The

  best solution in this case may be to reconcile and supplement those salient

  approaches. In addressing the merits of Petitioners’ requests for habeas relief, the

  undersigned thus considers the following non-exhaustive list of factors:

         (1) whether the petitioner has been diagnosed with COVID-19 or is
         experiencing symptoms consistent with the disease;



  17And so have many others. See, e.g., United States v. Clark, No. CR 17-85-SDD-RLB, 2020
  WL 1557397, at *4 (M.D. La. Apr. 1, 2020) (“Defendant cites no authority for the proposition
  that the fear of contracting a communicable disease warrants a sentence modification.”);
  Saillant v. Hoover, et al., No. 1:20-CV-00609, 2020 WL 1891854, at *5 (M.D. Pa. Apr. 16,
  2020) (denying habeas relief in part because the petitioner sought habeas corpus relief merely
  because he was “detained and subjected to a generalized risk of contracting COVID-19”).

                                               22
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 23 of 48 PageID #: 923




        (2) whether the petitioner is among the group of individuals that is at
        higher risk of contracting COVID-19 as identified by the CDC, due to
        the petitioner’s age or an underlying health condition;

        (3) whether the petitioner has been, or has likely been, directly exposed
        to COVID-19;

        (4) the physical space in which the petitioner is detained, and how that
        physical space affects his risk of contracting COVID-19;

        (5) the efforts that detention facility officials have made to prevent or
        mitigate the spread of, or harm caused by, COVID-19;

        (6) any danger to the community, or to the petitioner’s immigration
        proceedings, that may be posed by the petitioner’s release; and

        (7) any other relevant factors.

  See Saillant, 2020 WL 1891854, at *4; Vazquez Barrera, 2020 WL 1904497, at *6.

               2.     Petitioners may face irreparable harm if not released.

        In order to satisfy the “irreparable harm” requirement, Petitioners must

  establish that “irreparable injury is likely in the absence of an injunction.” Winter v.

  Nat. Res. Def. Council, Inc., 555 U.S. 7, 22, 129 S. Ct. 365, 375, 172 L. Ed. 2d 249

  (2008). But a court “need not await a tragic event” to afford injunctive relief. Helling

  v. McKinney, 509 U.S. 25, 33, 113 S. Ct. 2475, 2481, 125 L. Ed. 2d 22 (1993). Instead,

  the following familiar principles would apply:

        Perhaps the single most important prerequisite for the issuance of a
        preliminary injunction is a demonstration that if it is not granted the
        applicant is likely to suffer irreparable harm before a decision on the
        merits can be rendered.” 11A Charles Alan Wright, Arthur R. Miller &
        Mary Kay Kane, Federal Practice and Procedure § 2948.1 (3d ed. 2013)
        [hereinafter Wright & Miller]. The focus of this inquiry is not so much
        the magnitude but the irreparability of the threatened harm. See
        Callaway, 489 F.2d at 575. The Fifth Circuit has defined irreparable
        harm to mean “harm for which there is no adequate remedy at law,”
        such as monetary damages. Daniels Health Scis., L.L.C. v. Vascular

                                            23
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 24 of 48 PageID #: 924




           Health Scis., L.L.C., 710 F.3d 579, 585 (5th Cir.2013); accord Janvey v.
           Alguire, 647 F.3d 585, 600 (5th Cir.2011).

           Plaintiffs must show that “irreparable injury is likely in the absence of
           an injunction.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22, 129
           S.Ct. 365, 172 L.Ed.2d 249 (2008). “[A] preliminary injunction will not
           be issued simply to prevent the possibility of some remote future injury.”
           Id. (alteration in original) (quoting Wright & Miller, supra, § 2948.1);
           Morrell v. City of Shreveport, 536 Fed.Appx. 433, 435 (5th Cir.2013).
           There must be more than “an unfounded fear on the part of the
           applicant.” Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997
           (5th Cir.1985). Accordingly, the party seeking a preliminary injunction
           must show that the threatened harm is “more than mere speculation.”
           Janvey, 647 F.3d at 601; see also Connecticut v. Massachusetts, 282 U.S.
           660, 674, 51 S.Ct. 286, 75 L.Ed. 602 (1931) (“[An injunction] will not be
           granted against something merely feared as liable to occur at some
           indefinite time in the future.”); Wis. Gas Co. v. FERC, 758 F.2d 669, 674
           (D.C.Cir.1985) (“[T]he injury must be both certain and great; it must be
           actual and not theoretical.”). Therefore, “[a] presently existing actual
           threat must be shown.” Morrell, 536 Fed.Appx. at 435 (alteration in
           original) (quoting United States v. Emerson, 270 F.3d 203, 262 (5th
           Cir.2001)).

  Monumental Task Comm., Inc. v. Foxx, 157 F. Supp. 3d 573, 582–83 (E.D. La. 2016),

  aff'd sub nom. Monumental Task Comm., Inc. v. Chao, 678 F. App'x 250 (5th Cir.

  2017).

           Here, a Petitioner could establish irreparable harm in two ways. First, “[t]he

  alleged violation of a constitutional right is sufficient for a court to find irreparable

  harm.” Malam, 2020 WL 1672662, at *10. Second, a Petitioner may prove that

  detention constitutes a significant and heightened risk that they will contract

  COVID-19. See Coreas v. Bounds, No. CV TDC-20-0780, 2020 WL 1663133, at *13

  (D. Md. Apr. 3, 2020) (“Petitioners have introduced uncontroverted evidence that

  contracting COVID-19 would put them at serious risk of severe medical complications

  and even death.”). It is difficult to dispute that an elevated risk of contracting

                                               24
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 25 of 48 PageID #: 925




  COVID-19 poses a threat of irreparable harm. See, e.g., Thakker, et al. v. Doll, et al.,

  No. 1:20-CV-480, 2020 WL 1671563, at *7 (M.D. Pa. Mar. 31, 2020) (collecting data

  and cases). A colleague court described the general implications upon immigration

  detainees with comorbidities as follows:

        The COVID-19 pandemic has reached every state in our nation, and the
        numbers of infected and dead increase daily. According to the CDC,
        those with particular medical vulnerabilities, including Plaintiffs, are
        particularly susceptible to serious illness and death. There is currently
        no vaccine or cure for COVID-19. Medical experts have also concluded
        that continued detention in ICE facilities during the current pandemic
        presents an “imminent risk to the health and safety of immigrant
        detainees.” Letter from Scott A. Allen, MD, FACP & Josiah Rich, MD,
        MPH to Committee Chairpersons and Ranking Members of House and
        Senate Committee on Homeland Security and Committee on Oversight
        and Reform 3 (Mar. 19, 2020), https://whistleblower.org/wp-
        content/uploads/2020/03/Drs.-Allen-and-Rich-3.20.2020-Letter-to-
        Congress.pdf.

  Vazquez Barrera, 2020 WL 1904497, at *6; see also Basank v. Decker, No. 20 CIV.

  2518 (AT), 2020 WL 1481503, at *4 (S.D.N.Y. Mar. 26, 2020) (“Courts have also

  recognized this health risk to be particularly acute—and of constitutional

  significance—for inmates who are elderly or have underlying illnesses.”).

        Unfortunately, Petitioners already have powerful evidence that the threat to

  them could be immediate: one of their number has already contracted COVID-19

  during the course of this proceeding.

               3.     Petitioners' likely injuries may outweigh any legitimate
                      government interest or injury.

        The potential injuries facing Petitioners are of the gravest kind. Those who

  contract COVID-19 often suffer physically and mentally. That is especially true of

  the elderly or the sick. They endure severe and protracted illness, discomfort, and

                                             25
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 26 of 48 PageID #: 926




  pain. They may suffer permanent injuries or disabilities. They may die. Again, one

  Petitioner is already facing these prospects.     And to the extent they can prove

  particularized risk, the remaining Petitioners could as well.

        Respondents have legitimate countervailing interests: to protect the public and

  to ensure that Petitioners appear for future immigration proceedings or removal. See

  Vazquez Barrera, 2020 WL 1904497, at *7; Engelund v. Doll, No. 4:20-CV-00604,

  2020 WL 1974389, at *9 (M.D. Pa. Apr. 24, 2020. The Court acknowledges and values

  those interests. But their weight ilimited in several respects:

        [D]etention is not necessary to further Defendants' interest in
        preventing [detainees] from absconding. Rather, ICE has a number of
        alternative tools available to it to ensure enforcement, which it is free to
        use with [detainees] if they are released from detention. For example,
        ICE's conditional supervision program uses a combination of electronic
        ankle monitors, biometric voice recognition software, unannounced
        home visits, employer verification, and in-person reporting
        requirements to supervise individuals released from detention. (Doc. No.
        12-1, at 27). An initial study of ICE's alternatives to detention reported
        a 99% attendance rate at all immigration court hearings and a 95%
        attendance rate at final hearings among supervised individuals. U.S.
        Gov't Accountability Office, GAO-15-26, Alternatives to Detention:
        Improved Data Collection and Analyses Needed to Better Assess
        Program Effectiveness 30 (2014).

  Vazquez Barrera, 2020 WL 1904497, at *7.

        To the contrary, a Petitioner’s extended detention may actually place added

  strain on the already overburdened medical system, or delay, if not derail,

  immigration proceedings or deportation. Ali v. Dep't of Homeland Sec., No. 4:20-CV-

  0140, 2020 WL 1666074, at *5 (S.D. Tex. Apr. 2, 2020) (“If Petitioner endured

  significant exposure to those affected by the virus, that alone could further delay

  Petitioner’s ultimate deportation.”).

                                            26
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 27 of 48 PageID #: 927




              4.     PetitionerV release may not disserve the public interest.

        Courts have referenced a detainee’s criminal history and history of violence as

  public interest factors. Vazquez Barrera , 2020 WL 1904497, at *7. Of course, a

  detainee’s criminal history cannot be decisive, because civil detention cannot

  masquerade for continued criminal detention for a prior offense. See Vazquez

  Barrera , 2020 WL 1904497, at *7. But again, the Court values these interests.

        However, courts have also noted the public’s interest in preventing or

  mitigating outbreaks, which invariably spread to correctional officers and other staff

  members, their families, and the public. See Vazquez Barrera , 2020 WL 1904497, at

  *7; see also Thakker, , 2020 WL 1671563, at *8 (Physical detention itself will place a

  burden on community healthcare systems and will needlessly endanger Petitioners,

  prison employees, and the greater community. We cannot see the rational basis of

  such a risk.”). And yet again, the public interest may, in some situations, favor

  release: “In the highly unusual circumstances posed by the COVID-19 crisis, the

  continued detention of aging or ill civil detainees does not serve the public's interest.

  . . . . “" To the contrary, public health and safety are served best by rapidly decreasing

  the number of individuals detained in confined, unsafe conditions." Basank, 2020

  WL 1481503, at *6.

        D.     Detention Facilities and Petitioners

        ICE has promulgated a set of Performance-Based National Detention

  Standards (the “National Detention Standards”) which govern the conditions and

  circumstances under which detainees are held in custody and detention facilities are



                                             27
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 28 of 48 PageID #: 928




  operated. 18 The PBNDS require ICE detention facilities to follow “guidelines for the

  prevention and control of infectious and communicable diseases.” 19

            The CDC has issued “Interim Guidance on Management of Coronavirus

  Disease 2019 (COVID-19) in Correctional and Detention Facilities.” 20               The

  “Guidance” sets forth operational and medical recommendations to detention

  facilities facing suspected or actual COVID-19 cases.

            Respondents argue that ICE has taken measures, including some steps listed

  in the Guidance, in the six facilities now housing Petitioners. Again to their credit,

  Respondents are careful not to overstate the case, and even clarify that ICE’s

  responsive measures are “are “admittedly not perfect.” ECF No. 8 at 17. Respondents

  state that ICE will screen all necessary visitors, and will isolate detainees with or

  suspected of having COVID-19.

            Through declarations, Respondents submit that staff and detainees have been

  educated on COVID-19, and as of April 22, 2020, all facilities have hand sanitizer,

  disinfection spray, soap, hot water, and gloves “in every housing unit.” ECF No. 8-2

  at 5. But no amounts are provided for these materials. Further, ICE is reviewing its

  detained population of people who are “at higher risk for severe illness” as identified

  by the CDC to determine if detention remains appropriate, “considering the




  18    2011 Operations Manual ICE Performance-Based National Detention Standards,
  https://www.ice.gov/detention-standards/2011 (last visited Apr. 29, 2020).

  19   Id. § 4.3 (II)(10).

  20   Available     at    https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
  detention/guidance-correctional-detention.html (last visited Apr. 29, 2020).

                                               28
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 29 of 48 PageID #: 929




  detainee’s health, public safety and mandatory detention requirements, and adjusted

  custody conditions, when appropriate, to protect health, safety and well-being of its

  detainees.” ECF No. 8-2 at 5-6. But no time frames were (or reasonably could) be

  provided for these decisions. See Coronel v. Decker, No. 20-CV-2472 (AJN), 2020 WL

  1487274, at *7 (S.D.N.Y. Mar. 27, 2020) (“Petitioners are uniquely vulnerable to

  COVID-19. The longer they spend in civil detention, the greater their chances of

  contracting the disease. A hearing weeks from now may be no relief at all, because

  Petitioners may contract COVID-19 in the interim and face serious health

  consequences—including death.”).

        Overall, despite the best efforts of ICE officials and officers braving to report

  for work in detention facilities, “individuals housed within detention centers,”

  especially including these 16 Petitioners, “remain particularly vulnerable to

  infections.” Ali v. Dep't of Homeland Sec., No. 4:20-CV-0140, 2020 WL 1666074, at

  *5 (S.D. Tex. Apr. 2, 2020) (and sources cited therein). Unlike other courts, the

  undersigned cannot find that the corrective measures evidenced by Respondents are,

  in and of themselves, enough to moot Petitioners’ claims altogether.           This is

  particularly true when considering the declarations and evidence submitted by

  Petitioners which indicates that the corrective measures are either woefully

  inadequate to protect them, or not being implemented at all.

        Moreover, a number of Petitioners have been convicted of, and served

  sentences for, criminal offenses. As discsussed above, however, and as decided by

  numerous other courts, a conviction alone cannot justify an alien’s otherwise punitive



                                           29
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 30 of 48 PageID #: 930




  or unconstitutional detention. The Court will consider, however, criminal convictions

  to the extent they may indicate violent or dangerous tendencies, especially when

  likely to be directed at identifiable individuals.

          1.    The LaSalle Ice Processing Center (“LIPC”) currently houses nine
                Petitioners: Taluta Helen Dada, Griselda Del Bosque, Suresh Kumar,
                Nadira Sampath-Grant, Matilde Flores de Saavedra, Pardeep Kumar,
                Rosabel Carrera, Sonia Lemus-De Jasso, and Helen Saleh.
          LIPC is a private detention center run by The GEO Group, Inc. (“GEO”). ECF

  No. 8-1 at 2. As of April 21, 2020, there were 904 detainees housed at the facility,

  which has capacity to house 1,170 detainees. ECF No. 8-1 at 2. Also as of April 21,

  2020, three detainees had confirmed cases of COVID-19 at LIPC, and there was one

  suspected case. ECF No. 8-2 at 4. These detainees were isolated from all other

  detainees. Id. However, according to ICE, seven detainees had confirmed cases of

  COVID-19 as of April 28, 2020.

          Given the known circumstances at LIPC, Petitioners housed there are all at

  moderate to high risk of exposure.

                a.    Petitioner Taluta Helen Dada should be released.

          Dada has neither tested positive nor reported, of record, symptoms of COVID-

  19. And while Dada, at age 40, is younger than the CDC’s risk threshold, Dada

  suffers from underlying medical issues that place her at elevated risk. ECF No. 8-1

  at 3.    Dada states that she suffers from Graves’ Disease, which has required

  hospitalizations, radiation, and immunosuppressants. ECF No. 2-7 at 1. Dada also

  alleges that she suffers from hypothyroidism, asthma, malnutrition, and is

  immunocompromised. Id. at 1-2.


                                             30
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 31 of 48 PageID #: 931




        Dada alleges that she is housed in dorm Falcon-D, which is at capacity with 80

  detainees. ECF No. 2-7 at 2. Her dorm shares three working toilets, six showers,

  and eight telephones. Id. The toilets, showers, and telephones are sprayed by other

  detainees in the voluntary work program once a day, but those detainees do not wear

  masks. Id. Detainees in her dorm sleep in bunk beds about a yard and a half apart,

  and there is no hand sanitizer available. Id.

        Dada was convicted in this District Court of conspiracy to defraud the United

  States to obtain immigration status, making false statements in connection with

  immigration documents, and mail fraud with forfeiture allegations. See id.; United

  States v. Dada, 3:18-CR-0086 (W.D. La.). She is currently awaiting a hearing with

  the immigration court. ECF No. 8-1 at 3. Therefore, she is not subject to a final order

  of removal. Dada alleges that she would live with her sister in Ruston, Louisiana if

  released. ECF No. 2-7 at 3.

        Respondents did not state whether it considers Dada “at higher risk,” or

  whether it has evaluated the appropriateness of her detention, specifically.

        Dada’s immigration and related convictions, while significant, do not indicate

  particularized risks of harm to the public, and do not outweigh the significant health

  risks she faces and the other factors favoring her release.

            b.        Petitioner Griselda Del Bosque should be released.

        Del Bosque is 57 years-old and reportedly suffers from asthma, which puts her

  at elevated risk for COVID-19 complications. Her asthma is only partially controlled

  by the inhaler she was provided at LIPC. ECF No. 2-8 at 1. Del Bosque “has had



                                            31
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 32 of 48 PageID #: 932




  numerous asthma attacks and coughing fits while she has been detained.” ECF No.

  1 at 13. She also suffers from glaucoma and chronic arm, back, and knee pain. Id.

  She has neither tested positive nor reported, of record, symptoms of COVID-19.

        Del Bosque states that she is housed in dorm Alpha-D with 80 other women

  whose beds are “less than a foot” apart. ECF No. 2-8 at 1. These 80 detainees also

  share three toilets, six showers, and eight telephones. Id.

        Like Dada, Griselda Del Bosque (Del Bosque) is awaiting a hearing with the

  immigration court. She has not been ordered removed. ECF No. 8-1 at 4. Del Bosque

  recently completed a 235-month sentence for conspiracy to possess with intent to

  distribute a controlled substance, and she has been in ICE custody since January 3,

  2020. ECF No. 8-1 at 3-4. Del Bosque maintains that she would reside with her

  daughter in Dallas, Texas, if released. ECF No. 2-8.

        Respondents did not state whether it considers Del Bosque “at higher risk,” or

  whether it has evaluated the appropriateness of her detention, specifically.

        Del Bosque’s narcotics conviction clearly arose from a serious offense. But she

  served her sentence, and has been in federal custody for a substantial amount of time.

  The nature of the offense, while significant, does not indicate violent tendencies or a

  particularized risk of harm.    In fact, the length of the associated sentence and

  subsequent immigration custody mitigates the risk of harm to the public. And Del

  Bosque’s criminal history does not outweigh the significant health risks she faces and

  the other factors favoring her release. This is particularly true given her asthmatic

  condition, which is respiratory in nature.



                                            32
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 33 of 48 PageID #: 933




               c.    Petitioner Suresh Kumar should be released.

        Kumar is only 37 years old, but he is at risk due to severe malnutrition

  resulting from a hunger strike. ECF No. 1 at 14.      Kumar reports being force-fed

  liquid nutrients through a tube that runs through his nose and into his esophagus.

  ECF No. 2-13 at 1. S. Kumar alleges that he was diagnosed with Hepatitis C and a

  chronic liver infection. Id. He has neither tested positive nor reported, of record,

  symptoms of COVID-19.

        Kumar reports that he is confined with Pardeep Kumar “in a 10 x 10 small

  room in the medical unit.” ECF No. 2-13 at 1. S. Kumar alleges that the doctors do

  not wear masks when force-feeding him. Id.

        Although Suresh Kumar (“Kumar”) was ordered removed on July 11, 2019, his

  appeal of that order still is pending with the Board of Immigration Appeals. ECF No.

  8-1 at 4. Respondents do not allege that Kumar was ever convicted of a crime in the

  United States. The Court is also unaware of any criminal history. If released, Kumar

  will reside with his brother-in-law in Grants Pass, Oregon. ECF No. 2-13 at 2.

        Respondents did not state whether it considers S. Kumar “at higher risk,” or

  whether it has evaluated the appropriateness of his detention, specifically.

        Relevant factors – particularly Kumar’s health conditions and attendant risks

  of contracting COVID-19, and Kumar’s lack of criminal history – favor his release.

               d.    Petitioner Pardeep Kumar should be released.

        Pardeep Kumar (“P. Kumar”) is also at increased risk due to severe

  malnourishment from a hunger strike. ECF No. 1 at 14. P. Kumar reportedly



                                           33
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 34 of 48 PageID #: 934




  suffered a kidney infection in March 2020. P. Kumar has neither tested positive nor

  reported, of record, symptoms of COVID-19.

        Respondents do not claim that P. Kumar was convicted of a crime in the United

  States. The Court is also unaware that he has any criminal history. P. Kumar’s

  appeal of his order of removal is also pending with the Board of Immigration Appeals.

  ECF No. 8-1 at 5. Although ICE attempted to deport P. Kumar in February, 2020,

  the pilot refused due to P. Kumar’s emaciated appearance. ECF No. 2-12 at 1. P.

  Kumar will reside with his uncle in Kent, Washington if released. ECF No. 1-12 at

  2.

        Respondents do not state whether it considers P. Kumar “at higher risk,” or

  whether it has evaluated the appropriateness of his detention, specifically.

        For the same reasons as stated regarding Petitioner Kumar above, relevant

  factors favor P. Kumar’s release.

               e.    Petitioner Nadira Sampath-Grant should be released.

        Nadira Sampath-Grant (“Sampath-Grant”) is at great risk because she suffers

  from diabetes and diabetic-related complications such as neuropathy and issues with

  her kidneys. She relies on oral medication for her diabetic care. ECF No. 1 at 13.

  Sampath-Grant is 53 years old. ECF No. 2-18 at 1. Sampath-Grant has neither

  tested positive nor reported, of record, symptoms of COVID-19.

        Sampath-Grant is also housed in dorm Falcon-D with 80 detainees. As of the

  date of her declaration, Sampath-Grant reports that masks, gloves, and sanitizer

  were not available to detainees. ECF No. 2-18 at 1. Sampath-Grant submitted an



                                           34
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 35 of 48 PageID #: 935




  updated declaration dated April 21, 2020, indicating continued soap shortages. ECF

  No. 9-5 at 1. Sampath-Grant indicates that she has waited days waiting for soap. Id.

  Sampath-Grant also indicated that a detainee with fever was returned to the dorm

  after requesting medical care. Id.

        ICE states that Sampath-Grant was convicted of conspiracy to dispense and

  distribute oxycodone in the United States District Court for the Southern District of

  Florida. After service of her sentence, she was ordered removed. ECF No. 8-1 at 4.

  ICE is “attempting to obtain travel documents” for her removal. Id. Of course, there

  is no certain information as to if or when travel documents will be obtained. If

  released, she would reside with her husband and son in Ft. Lauderdale, Florida. ECF

  No. 2-18 at 2.

        Respondents do not state whether it considers Sampath-Grant “at higher risk,”

  or whether it has evaluated the appropriateness of her detention, specifically.

        For the same reasons stated above as to Petitioner Del Bosque, Sampath-

  Grant’s narcotics-related criminal history, while significant, does not outweigh the

  severe risks posed by her detention.

               f.    Petitioner Matilde Flores de Saavedra should be released

  Factors also weigh in favor of releasing Matilde Flores de Saavedra (“Flores de

  Saavedra”), who is at increased risk of complications from COVID-19 due to her age

  and medical conditions.    Flores de Saavedra is 78 years old and was recently

  diagnosed with diabetes, which remains uncontrolled, and hypertension. ECF No. 2-




                                           35
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 36 of 48 PageID #: 936




  10 at 1; No. 1 at 21. Flores de Saavedra has neither tested positive nor reported, of

  record, symptoms of COVID-19.

        Flores de Saavedra is also housed in dorm Falcon-D, with close bunks and once-

  daily cleaning by detainees without masks. ECF. No. 2-10 at 1.

        Like Dada and Del Bosque, Flores de Saavedra is awaiting a hearing with the

  immigration court. Last year she completed an eight-month sentence for conspiracy

  to transport undocumented aliens. ECF No. 8-1 at 4. If released, Flores de Saavedra

  would reside with her son in Falfurrias, Texas.

        Respondents did not state whether it considers Flores de Saavedra “at higher

  risk,” or whether it has evaluated the appropriateness of her detention, specifically.

        For the same reasons stated above, Flores de Saavedra’s immigration and

  related offenses, while significant, do not outweigh the other factors favoring her

  release, including her advanced age and the severe health risks she faces if detained.

               g.     Petitioner Rosabel Carrera should be released.

        Rosabel Carrera (“Carrera”) is also at a severely heightened risk of

  complications if she contracts COVID-19. She is a 59-year-old with obesity, diabetes,

  and hypertension. ECF No. 2-6 at 1. She also has a history of heart attack and stroke.

  Id.

        Carrera is also housed in dorm Falcon-D. She, too, reported the 80 women in

  her dorm sharing three working toilets and six showers, with no access to

  disinfectants. ECF No. 2-6 at 1. In an updated declaration, Carrera reports that she

  recently went to the medical unit for a sore throat, “[a]mong other complaints,” and



                                            36
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 37 of 48 PageID #: 937




  she was not tested for COVID-19. ECF No. 9-8 at 1. Carrera also states that “guards

  sometimes wear masks, but sometimes they do not.” Id. Detainees are sometimes

  left without soap and a shortage of cleaning supplies. Id.

        An immigration judge terminated removal proceedings against Carrera in

  2019, but ICE successfully appealed the decision. Carrera is now awaiting a hearing

  with the immigration court. ECF No. 8-1 at 5.

        Respondents do not state whether it considers Carrera “at higher risk,” or

  whether it has evaluated the appropriateness of her detention, specifically.

        While Carrera reported one generalized symptom consistent with COVID-19,

  she has not tested positive, she has not reported it was severe, and she has not

  reported other symptoms or a protracted period of illness. She does, however, face a

  substantial risk of contracting the virus if detained, and no other factors strongly

  favor her detention.

               h.    Petitioner Sonia Lemus Tejada Dejaso should be released.

               Sonia Lemus Tejada Dejaso (“Dejaso”) is 53 years old and suffers from

  health conditions that leave her vulnerable to complications if she contracts

  COVID-19. Dejaso reportedly has heart disease and hypertension. Dejaso has

  neither tested positive nor reported, of record, symptoms of COVID-19.

        After her conviction of harboring an alien for private gain, Dejaso was ordered

  removed. Her appeal is pending. ECF No. 8-1 at 5.

        Respondents do not state whether it considers Dejaso “at higher risk,” or

  whether it has evaluated the appropriateness of her detention, specifically.



                                           37
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 38 of 48 PageID #: 938




        Dejaso’s    immigration    convictions,   while   significant,   do   not   indicate

  particularized risks of harm to the public, and do not outweigh the significant health

  risks she faces and the other factors favoring her release.

               i.      Petitioner Hasan Saleh should be released.

        Factors also weigh in favor of release for Hasan Saleh (“Saleh”). Saleh is 62

  years old, and he suffers from diabetes, hypertension, and high cholesterol. ECF No.

  1 at 15. Saleh has neither tested positive nor reported, of record, symptoms of

  COVID-19.

        Saleh is housed in dorm Eagle-Charlie with about 72 other men. As of the date

  of his declaration, none of the guards or detainees had masks or gloves. ECF No. 2-

  17 at 1.

        Saleh was ordered removed in February 2020 after service of his sentence for

  conspiracy to commit food stamp and wire fraud. ECF No. 8-1 at 5-6. Saleh would

  reside with his wife and five children in Ft. Lauderdale, Florida if he is released.

  ECF No. 2-17 at 1.

        Respondents do not state whether it considers Saleh “at higher risk,” or

  whether it has evaluated the appropriateness of his detention, specifically.

        Saleh’s financial crimes convictions, while significant, do not indicate

  particularized risks of harm to the public, and do not outweigh the significant health

  risks he faces and the other factors favoring his release. In parciular, his advanced

  age and underlying health conditions place him at elevated risk if detained.




                                            38
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 39 of 48 PageID #: 939




        2.     Richwood Detention Center currently houses one Petitioner: Abraham
               Gebremedhim Gebremichael

        According Hartnett’s declaration, Richwood Detention Center (“Richwood”) is

  a private detention center run by LaSalle Corrections Corporation (“LCC”). ECF No.

  8-1 at 2. As of April 21, 2020, there were 306 detainees housed at the facility, which

  has capacity to house 1,000 detainees. ECF No. 8-1 at 2. The ICE detainees are

  housed separately from other detainees. ECF No. 8-2 at 3.

        As of April 21, 2020, Richwood had 29 detainees with confirmed cases of

  COVID-19 and five suspected cases.      Many of the detainees with COVID-19 were

  transferred to Richwood from other facilities. ECF No. 8-2 at 4. These detainees “are

  isolated when possible” and are separated from the other population. Id. According

  to ICE, 45 detainees at Richwood had confirmed cases of COVID-19 as of April 28,

  2020. And according to news reports cited above, two correctional officers have died

  of symptoms consistent with COVID-19.

        Petitioner housed at this detention facility faces an elevated risk of exposure

  to, and contraction of, COVID-19.

               a.    Petitioner Abraham Gebremedhim Gebremichael should be
                     released.

        Although Abraham Gebremedhim Gebremichael (“Gebremichael”)’s age of 33

  does not put him at high risk according to the CDC, he suffers from bradycardia and

  a slow heartbeat, which leaves his body without sufficient oxygen. ECF No. 2-11 at

  1. He also experiences shortness of breath and fatigue as a result of his medical

  conditions. Id.



                                           39
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 40 of 48 PageID #: 940




        Gebremichael states he is housed in Unit C, with 110 other people. ECF No.

  2-11 at 1.   Gebremichael states that, as of the date of his declaration, there were

  insufficient cleaning supplies and soap. ECF No. 2-11 at 2.

        In his declaration, Gebremichael alleges that he has a cough, along with six or

  seven other people in his unit. He says one other detainee had a high fever, but still

  slept in the Unit C. ECF No. 2-11 at 2.

        Gebremichael has been in ICE custody since August 13, 2019. He had a

  scheduled immigration court hearing on April 29, 2020.            ECF No. 8-1 at 6.

  Respondents do not allege that Gebremichael was ever convicted of a crime.

        Respondents do not state whether it considers Gebremichael “at higher risk,”

  or whether it has evaluated the appropriateness of his detention, specifically.       If

  released, he would reside with his cousin in Houston, Texas. ECF No. 1 at 14.

        Gebremichael has experienced one generalized symptom consistent with

  COVID-19, but he has not tested positive or reported a protracted illness or other

  symptoms. symptoms consistent with COVID-19. With no criminal history, and a

  lengthy period of immigration detention, relevant factors, weigh in favor of his

  release.

        3.     Catahoula Correctional Center currently houses two Petitioners:
               Ronaldo Alex Colon and Karthikeyan Ponnusamy.

        According Hartnett’s declaration, Catahoula Correctional Center (“CCC”).

  CCC is a private detention center run by LaSalle Corrections Corporation (“LCC”).

  ECF No. 8-1 at 2. As of April 21, 2020, there were 529 detainees housed at the facility,

  which has capacity to house 750 detainees. ECF No. 8-1 at 3.

                                            40
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 41 of 48 PageID #: 941




        Also as of April 21, 2020, CCC had one detainee that had tested positive for

  COVID-19, but he was transferred to Richwood. There were also three suspected

  cases who were isolated until their COVID-19 tests came back negative. ECF No. 8-

  2 at 4. According to ICE, seven detainees at CCC tested positive for COVID-19 as of

  April 28, 2020.

        With growing reported cases, Petitioners housed in this facility face a moderate

  to high risk of exposure or contraction.

        a.     Petitioner Ronaldo Alex Colon should be released.

        Ronaldo Alex Colon (“Colon”) is a 47-year-old detainee with hypertension and

  high cholesterol. ECF No. 1 at 15. Colon alleges that he is in Room B with 100 others,

  sharing three toilets, one urinal, and six showers. ECF No. 2-4 at 1. As of the date

  of his declaration, Colon alleges that CCC is lacking cleaning supplies, gloves, and

  masks. Id. He also alleges that several people had flu-like symptoms. Id.

        Colon submitted an updated declaration on April 22, 2020. ECF NO. 9-7 at 1.

  Colon states that he was provided a “basic piece of cloth” to cover his mouth, but not

  a medical mask. Id. Colon says there are “still more than 100 people in the dorms

  closed in together for 23 hours of the day.” Id. Colon alleges that utensils are rinsed

  only with hot water, and bathrooms only have small bars of soap. Id. Colon states

  that new detainees are still arriving daily. Id.   Colon also states that CCC guards

  recently threw tear gas into the dorms. Id. Colon indicates that he recently had flu-

  like symptoms, but does not state that he was tested for COVID-19. Id.




                                             41
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 42 of 48 PageID #: 942




        Colon has been detained for over a year since entering the United States. ECF

  No. 2-4 at 1; ECF No. 8-1 at 6. He has not been convicted of a crime. Colon’s appeal

  of his removal order is pending. ECF No. 8-1 at 6.

        Respondents do not state whether it considers Colon “at higher risk,” or

  whether it has evaluated the appropriateness of his detention, specifically.       If

  released, Colon would reside with his sister in New York, New York. ECF No. 2-4 at

  1.

        For all of the reasons stated regarding Petitioner Gebremichael above, relevant

  factors favor Petitioner Colon’s release.

        b.     Petitioner Kathikeyan Ponnusamy should be released.

  Although Karthikeyan Ponnusamy is only 41, he suffers from a host of medical

  conditions that put him at greater risk of complications from COVID-19.

  Specifically, Ponnusamy has diabetes, hypertension, and Low Lactate

  Dehydrogenase—a blood thickening disease. ECF No. 2-15 at 1. Ponnusamy

  also reports suffering from depression, anxiety, and insomnia. Id .   Ponnusamy

  has neither tested positive nor reported, of record, symptoms of COVID-19.

        Ponnusamy has been in custody since August 2019, and was ordered removed

  in January 2020. His appeal of the removal order is pending. ECF No. 8-1 at 6-7.

  There are no claims that he has ever been convicted of a crime.

        Respondents do not state whether it considers Ponnusamy “at higher risk,” or

  whether it has evaluated the appropriateness of his detention, specifically.       If

  released, he would reside in Austin, Texas. ECF No. 2-15 at 2.



                                              42
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 43 of 48 PageID #: 943




        Relevant factors – including a lack of criminal history and serious underlying

  health conditions – favor Ponnusamy’s release.

        4.     Jackson Parish Correctional Center currently houses one Petitioner:
               Aracelio Rodriguez.

        According Hartnett’s declaration, Jackson Parish Correctional Center

  (“JPCC”) is a private detention center run by LCC. ECF No. 8-1 at 3. As of April 21,

  2020, the date of his declaration, there were 502 detainees housed at the facility,

  which has capacity to house 1,000 detainees. ECF No. 8-1 at 3.

        As of the dates of Hartnett’s declaration, JPCC had no suspected or confirmed

  cases of COVID-19. According to the ICE website, there has been no change.

        a.     Petitioner Aracelio Rodriguez should not be released.

        Aracelio Rodriguez is 61 years old and has “severe asthma.” ECF No. 1 at 15.

  Rodriguez reports that he has “trouble breathing every day.” ECF No. 2-16 at 1.

  Rodriguez has neither tested positive nor reported, of record, symptoms of COVID-

  19.

        Rodriguez is housed in “one big dorm of about 100 people and there are only

  about 3 feet between each bed.” ECF No. 2-16 at 2. As of the date of his declaration,

  he often lacked soap to wash his hands, and the staff did not wear masks or gloves.

  Id.

        Rodriguez has been in ICE custody since applying for entry to the United

  States in October 2019. He was ordered removed on March 5, 2020, and his removal

  to Cuba is being arranged. ECF No. 8-1 at 7. ICE does not report any criminal




                                           43
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 44 of 48 PageID #: 944




  history. Rodriguez provides that he would reside with his son in West Palm Beach,

  Florida if he is released. ECF No. 2-16 at 2.

        Respondents do not state whether it considers Rodriguez “at higher risk,” or

  whether it has evaluated the appropriateness of his detention, specifically.

        Rodriguez is a high-risk detainee due to his advanced age and underlying

  medical conditions. But the risk of exposure at JPCC seems to be minimal at this

  point, with no confirmed or suspected cases having been reported, and minor

  shortcomings in sanitization having been reported. Accordingly, relevant factors do

  not presently favor Rodriguez’s release.

        5.       Pine Prairie ICE Processing Center currently houses one Petitioner:
                 Desmond Nkobenei.

        According Hartnett’s declaration, Pine Prairie ICE Processing Center

  (“PPIPC”) is a private detention center run by GEO. ECF No. 8-1 at 3. As of

  Hartnett’s declaration, there were 441 detainees housed at the facility, which has

  capacity to house 730 detainees. ECF No. 8-1 at 3.

        Hartnett’s declaration also reports seven detainees with confirmed cases of

  COVID-19 and one suspected case at PPIC. According to ICE’s website, 19 detainees

  at PPIC had confirmed cases of COVID-19 as of April 29, 2020.

        Petitioners at this facility face a moderate to high risk of exposure or

  contraction.

        a.       Petitioner Desmond Nkobenei should be released.

        Desmond Nkobenei is only 25 years old, but suffers from hypertension.

  Nkobenei states that his medication has been increased several times. ECF No. 2-14

                                             44
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 45 of 48 PageID #: 945




  at 1. Nkobenei has neither tested positive nor reported, of record, symptoms of

  COVID-19.

        Nkobenei states that he is housed with 70 to 74 people in a small dorm with

  bunks less than a meter apart. Detainees share two working toilets, and there is no

  sanitizer or disinfectant.   ECF No. 2-14 at 1.        Nkobenei submitted an updated

  declaration on April 21, 2020, indicating that he and other detainees were each

  provided one single-use surgical mask and instructed to wash after each use. ECF

  No. 9-6 at 1. Nkobenei alleges that guards first threatened to withhold pay if he did

  not sign a form stating he had received an N95 mask. Nkobenei also states that his

  dorm is under quarantine.       Id.   Nkobenei also reports 17 new detainees were

  transferred into the facility on April 19, 2020. Id.

        Nkobenei has been in custody since August 2019 when he entered the United

  States. He was ordered removed in February 2020, and his appeal is pending. ECF

  No. 8-1 at 7. If released, Nkobenei would reside with his cousin in Capitol Heights,

  Maryland. ECF No. 1 at 16.

        Relevant factors – including his lack of criminal history, and his underlying

  medical conditions, which are among the conditions that place individuals at highest

  risk – favor Nkobenei’s release.

        6.     Winn Correctional Center currently houses two Petitioners: Sigous
               Asgari and Eduardo Devora Espinosa.

        According Hartnett’s declaration, Winn Correctional Center (“WCC”) is a

  private detention center run by LCC. ECF No. 8-1 at 2. As of April 21, 2020, there




                                            45
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 46 of 48 PageID #: 946




  were 795 ICE detainees housed at the facility, which has capacity to house 1,553

  detainees. ECF No. 8-1 at 2.

        As of April 21, 2020, WCC had three detainees with confirmed cases of COVID-

  19 and one suspected case. ECF No. 8-1 at 2. According to ICE’s website, the

  numbers have not changed.

        Petitioners housed at this facility face moderate to high risk of exposure and

  contraction.

                 a.   Petitioner Sigous Asgari should not be released.

        According to updated filings from Petitioners’ counsel, Sigous Asgari (“Asgari”)

  has tested positive for COVID-19. ECF No. 15. Asgari has also developed a blood

  clot. Id. Asgari is 59 years old and has a history of Grade 2 Fatty Liver Disease as

  well as “hypertension and a chronic lung condition which has led to several lung

  infections and bouts with pneumonia.” Id.; ECF No. 1 at 12. Asgari’s medical

  conditions put him at great risk of complications from COVID-19.

        At last reporting, Asgari is reportedly under medical supervision in a negative

  pressure isolation unit at Winn. ECF No. 15. Although counsel for Asgari claims

  that ICE’s care is, generally, deficient and dangerous to detainees like Asgari, the

  record presently contains no other specific information beyond those representations

  as to Asgari’s actual treatment at Winn. Counsel for Respondents has maintained at

  least some contact with Winn medical personnel, who reported Asgari remained

  under medical supervision.




                                           46
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 47 of 48 PageID #: 947




         Asgari was scheduled for removal in March and April 2020, but the flights were

  cancelled due to COVID-19 restrictions. ECF No. 8-1 at 6. Asgari would reportedly

  live with a daughter in Redwood City, California if released. ECF No. 1 at 12.

         Asgari’s circumstances – again, at present and given what little has been

  reported of record – do not warrant release. Nor is the Court, at present, convinced

  that Asgari’s release would not endanger the public, and would necessarily improve,

  his medical condition. Should more information become known, this calculus may

  change. But given Asgari’s unfortunate circumstances, and the lack of known details

  or alternatives at present, Asgari should not be released.

               b.     Petitioner Eduardo Devora Espinosa has already been released.

         According to Hartnett’s declaration, Eduardo Devora Espinosa (“Espinosa”)

  was released on parole on April 15, 2020. Therefore, his request for release is moot.

  III.   Conclusion

         IT IS RECOMMENDED that the Court GRANT IN PART Petitioners’ Motion

  for Temporary Restraining Order (ECF No. 2) in the form of a PRELIMINARY

  INJUNCTION requiring the IMMEDIATE RELEASE of the Petitioners identified

  above pending resolution of their immigration proceedings or removal, and under

  CONDITIONS to be specified by DHS/ICE but to exclude subsequent arrest and

  detention, unless an identified Petitioner violates another condition of release,

  attempts to abscond, or commits any criminal offense.

         IT IS FURTHER RECOMMENDED that the Court decline to require any

  Petitioner released to post a bond or other security. See Fed. R. Civ. P. 65(c); A.T.N.



                                            47
Case 1:20-cv-00458-DDD-JPM Document 17 Filed 04/30/20 Page 48 of 48 PageID #: 948




  Indus., Inc. v. Gross , 632 F. App'x 185, 192 (5th Cir. 2015) (“[U]nder Rule 65(c), a

   court may elect to require no security at all.”) (internal citation and quotation

   omitted).

          IT IS FURTHER RECOMMENDED that the Motion for Temporary

   Restraining Order (ECF No. 2) be DENIED IN PART in all other respects, and as to

   all other Petitioners.

          IT IS FURTHER ORDERED that, given the urgency of the relief sought and

   recommended above, the objections periods set forth in 28 U.S.C. § 636(b)(1)(c) and

   Fed. R. Civ. P. 72(b) be EXPEDITED, and that any party wishing to object to this

   Report and Recommendation do so on or before Monday, May 4, 2020. The District

   Judge will consider timely objections before issuing a final ruling. A party’s failure

   to   file   written   objections   to   the   proposed   factual   findings,   conclusions,

   and recommendations contained in this Report and Recommendation shall bar that

   party from attacking either the factual findings or the legal conclusions accepted by

   the District Judge, except upon grounds of plain error.

          THUS DONE AND SIGNED in Alexandria, Louisiana, on this 30th day of

   April 2020.




                                             __________________________________________
                                             JOSEPH H.L. PEREZ-MONTES
                                             UNITED STATES MAGISTRATE JUDGE




                                                 48
